     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 1 of 22




   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
 THOMAS J. OLSEN, Individually and on  ECF CASE
 behalf of all other persons similarly
 situated,
                                       No.: ____________________
                 Plaintiff,
                                       CLASS ACTION COMPLAINT
         v.
                                       JURY TRIAL DEMANDED
 WEWORK COMPANIES INC.,

                Defendant.




                                   INTRODUCTION

       1.      Plaintiff Thomas J. Olsen, who is legally blind, brings this civil rights

action against Defendant WeWork Companies Inc. (“Defendant”) for its failure to design,

construct, maintain, and operate its website, www.wework.com (the “Website”), to be

fully accessible to and independently usable by Plaintiff Olsen and other blind or

visually-impaired people. Defendant denies full and equal access to its Website.

       2.      Plaintiff Olsen, individually and on behalf of others similarly situated,

asserts claims under the Americans With Disabilities Act (“ADA”), New York State

Human Rights Law (“NYSHRL”), and New York City Human Rights Law (“NYCHRL”)

against Defendant.

       3.      Plaintiff Olsen seeks a permanent injunction to cause Defendant to change

its corporate policies, practices, and procedures so that its Website will become and

remain accessible to blind and visually-impaired consumers.




                                           -1-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 2 of 22




                                       THE PARTIES

        4.      Plaintiff Olsen is, at all relevant times, a resident of Brooklyn, New York,

Kings County. As a blind, visually-impaired handicapped person, he is a member of a

protected class of individuals under Title III of the ADA, under 42 U.S.C. § 12102(1)-(2),

and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the

NYSHRL and NYCHRL.

        5.      Defendant is at all relevant times a foreign business corporation that is

organized under Delaware law, and it is authorized to do business in the State of New

York.

                                JURISDICTION AND VENUE

        6.      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff Olsen’s claims arise under Title III of the

ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

        7.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff Olsen’s NYSHRL, N.Y. Exec. Law Article 15, and NYCHRL, N.Y.C. Admin.

Code § 8-101 et seq., claims.

        8.      Venue is proper in this District under 28 U.S.C. §§ 1391(b)(1), 1391(d)

because Defendant’s corporate headquarters is located in this District at 115 East 18th

Street, New York, New York, and it would thereby be considered a resident of this

District if it was a separate state.

        9.      This Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.




                                            -2-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 3 of 22




                                 NATURE OF ACTION

       10.     Blind and visually impaired users of Windows operating system-enabled

computers and devices have several screen-reading software programs available to them.

Some of these programs are available for purchase and other programs are available

without the user having to purchase the program separately. Job Access With Speech

(“JAWS”) is currently the most popular, separately purchased and downloaded screen-

reading software program available for a Windows computer.

       11.     For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually impaired user is unable to access the same content

available to sighted users.

       12.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web

Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established

guidelines for making websites accessible to blind and visually impaired people. These

guidelines are universally followed by most large business entities and government

agencies to ensure its websites are accessible.

       13.     For a website to be equally accessible to a blind or visually impaired

person, under these guidelines, it should have following:

               a.      Alternative text (“alt-text”) or text equivalent for every non-text

element. Alt-text is an invisible code embedded beneath a graphical image on a website.

Web accessibility requires that alt-text be coded with each picture so that screen-reading

software can speak the alt-text where a sighted user sees pictures, which includes captcha

prompts. Alt-text does not change the visual presentation, but instead a text box shows



                                            -3-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 4 of 22




when the mouse moves over the picture. The lack of alt-text on these graphics prevents

screen readers from accurately vocalizing a description of the graphics, depriving that

person from knowing what is on the website.

                b.      Videos have audio description.

                c.      Title frames with text are provided. Absent these titles, navigating

a website is particularly difficult.

                d.      Webpage headings are properly labeled with the topic or purpose

of the webpage, versus being blank. Screen readers read out page headings, allowing

users to quickly skip to a section. Navigation is, however, very difficult without those

headings.

                e.      Equivalent text is provided when using scripts.

                f.      Forms may be completed with the same information and

functionality as for sighted persons. Absent forms being properly labeled, it is difficult

for a visually impaired or blind individual to complete the forms, as they do not know

what the fields, how to input data, or what options to select (e.g., selecting a date or a

size). A compliant website will, instead, provide labels or instructions when content

requires user input. This includes captcha prompts, requiring the user to verity that he or

she is not a robot.

                g.      Information about the meaning and structure of content is

conveyed by more than the visual presentation of content.

                h.      Web pages do not share the same ID or title. When two or more

elements on a web page share the same ID or title, it cause problems in screen readers

which use IDs for labeling controls and table headings.




                                             -4-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 5 of 22




               i.       Linked images must contain alt-text explaining the image. Absent

that alt-text, a screen reader has no content to present the user as to what the image is.

               j.       The purpose of each link is easily determined from how the link is

labeled. Absent properly labeling each link or when no description exists, it confuses

keyboard and screen-reader users as they do not know the purpose of the links. This

includes captcha prompts.

               k.       No redundant links where adjacent links go to the same URL

address. When redundant links exist, it causes additional navigation and repetition for

keyboard and screen-reader users.

               l.       Portable Document Formats (PDFs) are accessible. When they are

inaccessible, the visually impaired or blind individual cannot learn what information is on

them.

               m.       One or more keyboard operable user interface has a mode of

operation where the keyboard focus indicator is discernible.

               n.       Changing the setting of a user interface component does not

automatically cause a change of content where the user has not been advised before using

the component.

               o.       The name and role of all user interface elements can be

programmatically determined; items that can be set by the user can be programmatically

set; and/or notification of changes to these items are available to user agents, including

assistive technology.




                                             -5-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 6 of 22




                                STATEMENT OF FACTS

Defendant, Its Website And Its Website’s Barriers

        14.    Defendant owns and operates office space throughout the word, including

several locations in New York City such as 880 Third Avenue, New York, New York,

408 Broadway, New York, New York, and 450 Park Avenue South, New York, New

York.

        15.    Defendant’s Website is heavily integrated with its rental spaces, serving as

a gateway to them. Through the Website, Defendant’s customers are, inter alia, able to:

learn information about the buildings, such as building amenities, transportation options

and pricing information; learn about membership options; learn about the types of

workspace offered including private offices, conference rooms, and dedicated desks; read

member reviews and frequently asked questions; and schedule a tour of the spaces.

        16.    It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff Olsen and other blind or visually-impaired users access to its Website, thereby

denying the facilities and services that are offered and integrated with its rental spaces.

Due to its failure and refusal to remove access barriers to its Website, Plaintiff Olsen and

visually-impaired persons have been and are still being denied equal access to

Defendant’s rental spaces and the numerous facilities, goods, services, and benefits

offered to the public through its Website.

        17.    Plaintiff Olsen cannot use a computer without the assistance of screen-

reading software. He is, however, a proficient screen-reader user and uses it to access the

Internet. He has visited the Website on separate occasions using screen-reading software.

        18.    During his visits to the Website, the last occurring on or about December

5, 2018, Plaintiff Olsen encountered multiple access barriers that denied him the full



                                             -6-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 7 of 22




enjoyment of the facilities, goods, and services of the Website and the facilities, goods,

and services of Defendant’s rental spaces. Because of these barriers he was unable to,

substantially equal to sighted individuals:

               a.      Know what is on the Website. This is due to several untagged

elements throughout the Website. For example, on the home page there is an unlabeled

button to log in to your accounts, and several elements labeled “clickable” or labeled only

with a number. The main navigation menu, referred to as a “hamburger menu”, is hidden

behind an unlabeled button. Similarly, on the page for We Work Labs, there are several

elements labeled “clickable.” When Plaintiff Olsen selects the “Contact Us” link, he is

taken to a blank page. The sighted user is given a contact form and information to call or

chat online. When trying to learn about locations on the page “Coworking Space NYC,”

the filter options do not work. Therefore, Plaintiff Olsen must arrow or scroll through all

the available options. He selected 408 Broadway and while a sighted user is given a form

to schedule a visit on this page, the screen reader does not detect the form. The screen

reader does pick up a link to schedule a visit, but clicking the link takes him to what

appears to the screen reader to be a blank page.

               b.      Navigate the Website. The screen reader had significant difficulty

navigating the Website. This is due in large part to the unlabeled elements throughout the

Website. There are several unlabeled links and buttons. On the Pricing page, several

options are read twice, which can be confusing to screen readers. Also, the screen reader

repeatedly loses focus on the Website, making it difficult to navigate.

       19.     Plaintiff Olsen was denied full and equal access to the facilities and

services Defendant offers to the public on its Website because he encountered multiple




                                              -7-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 8 of 22




accessibility barriers that visually-impaired people often encounter with non-compliant

websites:

               a.      Lack of alt-text for images.

               b.      The website contains repetitive navigation links, which can be

confusing to a person using a screen reader.

               c.      Webpages have duplicate IDs which cause problems in screen

readers.

               d.      Webpages have markup errors.

               e.      Radio buttons are not in groups containing a fieldset element.

               f.      Form field labels are not unique on a page or enclosed in a fieldset

       with a legend that makes the label unique.

               g.      Approximately fifteen (15) headings are empty, and headings are

       not nested correctly.

               h.      Links use general text like “here” with no surrounding text

       explaining the link purpose.

               i.      Several links on a page share the same link text, but go to different

       destinations.

Defendant Must Remove Barriers to Its Website

       20.     Due to the inaccessibility of its Website, blind and visually-impaired

customers such as Plaintiff Olsen, who need screen-readers, cannot fully and equally use

or enjoy the facilities, goods, and services Defendant offers to the public on its Website.

The Website’s access barriers that Plaintiff Olsen encountered have caused a denial of his

full and equal access in the past, and now deter him on a regular basis from accessing the




                                            -8-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 9 of 22




Website. These access barriers have likewise deterred him from visiting Defendant’s

rental spaces and enjoying them equal to sighted individuals.

       21.        If the Website was equally accessible to all, Plaintiff Olsen could

independently navigate it, learn about Defendant’s office spaces; learn about pricing; and

schedule a tour, as sighted users can.

       22.        Through his attempts to use the Website, Plaintiff Olsen has actual

knowledge of the access barriers that make these services inaccessible and independently

unusable by blind and visually-impaired people.

       23.        Because simple compliance with the WCAG 2.0 Guidelines would

provide Plaintiff Olsen and other visually-impaired consumers with equal access to the

Website, Plaintiff Olsen alleges that Defendant has engaged in acts of intentional

discrimination, including, but not limited to, the following policies or practices:

                  a.     Constructing and maintaining a website that is inaccessible to

visually-impaired individuals, including Plaintiff Olsen;

                  b.     Failing to construct and maintain a website that is sufficiently

intuitive to be equally accessible to visually-impaired individuals, including Plaintiff

Olsen; and,

                  c.     Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually impaired consumers, such as

Plaintiff Olsen, as a member of a protected class.

       24.        Defendant therefore uses standards, criteria or methods of administration

that have the effect of discriminating or perpetuating the discrimination of others, as

alleged herein.




                                               -9-
       Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 10 of 22




         25.   Title III of the ADA expressly contemplates the injunctive relief that

Plaintiff Olsen seeks under 42 U.S.C. § 12188(a)(2).

         26.   Because its Website has never been equally accessible, and because

Defendant lacks a corporate policy that is reasonably calculated to cause its Website to

become and remain accessible, Plaintiff Olsen seeks a permanent injunction under 42

U.S.C. § 12188(a)(2) requiring Defendant to retain a qualified consultant acceptable to

Plaintiff Olsen to assist Defendant to comply with WCAG 2.0 guidelines for its Website:

               a.     Remediating the Website to be WCAG 2.0 AA compliant;

               b.     Training Defendant employees and agents who develop the

Website on accessibility compliance under the WCAG 2.0 guidelines;

               c.     Regularly checking the accessibility of the Website under the

WCAG 2.0 guidelines;

               d.     Regularly testing user accessibility by blind or vision-impaired

persons to ensure that Defendant’s Website complies under the WCAG 2.0 guidelines;

and,

               e.     Developing an accessibility policy that is clearly disclosed on

Defendant’s Website, with contact information for users to report accessibility-related

problems.

         27.   Although Defendant may currently have centralized policies on

maintaining and operating its Website, Defendant lacks a plan and policy reasonably

calculated to make them fully and equally accessible to, and independently usable by,

blind and other visually impaired consumers.




                                          -10-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 11 of 22




          28.   Without injunctive relief, Plaintiff Olsen and other visually impaired

consumers will continue to be unable to independently use the Website, violating its

rights.

          29.   Defendant has, upon information and belief, invested substantial sums in

developing and maintaining its Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making its Website

equally accessible to visually impaired customers.

          30.   Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

                            CLASS ACTION ALLEGATIONS

          31.   Plaintiff Olsen seeks to certify a nationwide class under Fed. R. Civ. P.

23(a) and 23(b)(2): all legally blind individuals in the United States who have attempted

to access Defendant’s Website and as a result have been denied access to the equal

enjoyment of goods and services offered in Defendant’s rental spaces during the relevant

statutory period (“Class Members”).

          32.   Plaintiff Olsen seeks to certify a State of New York subclass under Fed. R.

Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the State of New York who

have attempted to access the Website and as a result have been denied access to the equal

enjoyment of goods and services offered in Defendant’s rental spaces during the relevant

statutory period (“New York Subclass Members”).

          33.   Plaintiff Olsen seeks to certify a New York City subclass under Fed. R.

Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the City of New York who have

attempted to access the Website and as a result have been denied access to the equal




                                           -11-
    Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 12 of 22




enjoyment of goods and services offered in Defendant’s rental spaces during the relevant

statutory period (“New York City Subclass Members”).

       34.     Common questions of law and fact exist amongst the Class Members,

New York Subclass Members and New York City Subclass Members:

               a.      Whether Defendant’s rental spaces are places of “public

accommodation”;

               b.      Whether Defendant’s Website is a “public accommodation” or a

service or good “of a place of public accommodation” under Title III of the ADA;

               c.      Whether Defendant’s Website is a “place or provider of public

accommodation” or an “accommodation, advantage, facility or privilege” under the

NYSHRL or NYCHRL;

               d.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to people

with visual disabilities, violating Title III of the ADA; and

               e.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to people

with visual disabilities, violating the NYSHRL or NYCHRL.

       35.     Plaintiff Olsen’s claims are typical of the Class Members, New York

Subclass Members and New York City Subclass Members: they are all severely visually

impaired or otherwise blind, and claim that Defendant has violated Title III of the ADA,

NYSHRL or NYCHRL by failing to update or remove access barriers on its Website so it

can be independently accessible to the visually impaired individuals.

       36.     Plaintiff Olsen will fairly and adequately represent and protect the Class

and Subclasses’ interests because he has retained and is represented by counsel



                                            -12-
    Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 13 of 22




competent and experienced in complex class action litigation, and because he has no

interests antagonistic to the Class or Subclasses. Class certification of the claims is

appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act

on grounds generally applicable to the Class and Subclasses, making appropriate both

declaratory and injunctive relief with respect to Plaintiff, the Class and Subclasses.

       37.     Alternatively, class certification is appropriate under Fed. R. Civ. P.

23(b)(3) because fact and legal questions common to Class and Subclass Members

predominate over questions affecting only individuals, and because a class action is

superior to other available methods for the fair and efficient adjudication of this litigation.

       38.     Judicial economy will be served by maintaining this lawsuit as a class

action in that it is likely to avoid the burden that would be otherwise placed upon the

judicial system by the filing of numerous similar suits by people with visual disabilities

throughout the United States.

                          FIRST CAUSE OF ACTION
                 VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

       39.      Plaintiff Olsen, individually and on behalf of the Class Members, repeats

and realleges every allegation of the preceding paragraphs as if fully set forth herein.

       40.     Title III of the ADA prohibits “discriminat[ion] on the basis of disability

in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a).

       41.     Defendant’s rental spaces are public accommodations under Title III of the

ADA, 42 U.S.C. § 12181(7). Its Website is a service, privilege, or advantage of

Defendant’s rental spaces. The Website is a service that is integrated with these locations.




                                             -13-
    Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 14 of 22




       42.      Under Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

       43.      Under Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities an opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodation, which is equal to the

opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

       44.      Under Title III of the ADA, unlawful discrimination also includes, among

other things:

       [A] failure to make reasonable modifications in policies, practices, or
       procedures, when such modifications are necessary to afford such goods,
       services, facilities, privileges, advantages, or accommodations to
       individuals with disabilities, unless the entity can demonstrate that making
       such modifications would fundamentally alter the nature of such goods,
       services, facilities, privileges, advantages or accommodations; and a
       failure to take such steps as may be necessary to ensure that no individual
       with a disability is excluded, denied services, segregated or otherwise
       treated differently than other individuals because of the absence of
       auxiliary aids and services, unless the entity can demonstrate that taking
       such steps would fundamentally alter the nature of the good, service,
       facility, privilege, advantage, or accommodation being offered or would
       result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       45.      These acts violate Title III of the ADA, and the regulations promulgated

thereunder. Plaintiff Olsen, who is a member of a protected class of persons under Title

III of the ADA, has a physical disability that substantially limits the major life activity of

sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore, he has been

denied full and equal access to the Website, has not been provided services that are




                                            -14-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 15 of 22




provided to other patrons who are not disabled, and has been provided services that are

inferior to the services provided to non-disabled persons.

          46.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff Olsen requests the relief as set forth below.

                             SECOND CAUSE OF ACTION
                            VIOLATIONS OF THE NYSHRL

          47.   Plaintiff Olsen, individually and on behalf of the New York Subclass

Members, repeats and realleges every allegation of the preceding paragraphs as if fully

set forth herein.

          48.   N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent,

agent or employee of any place of public accommodation . . . because of the . . . disability

of any person, directly or indirectly, to refuse, withhold from or deny to such person any

of the accommodations, advantages, facilities or privileges thereof.”

          49.   Defendant’s State of New York rental spaces constitute sales

establishments and public accommodations under N.Y. Exec. Law § 292(9). Defendant’s

Website is a service, privilege or advantage of those rental spaces. Defendant’s Website

is a service that is by and integrated with those rental spaces.

          50.   Defendant is subject to NYSHRL because it owns and operates its rental

spaces and the Website. Defendant is a “person” within the meaning of N.Y. Exec. Law §

292(1).

          51.   Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to its Website, causing its Website and the services integrated

with its rental spaces to be completely inaccessible to the blind. This inaccessibility




                                             -15-
    Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 16 of 22




denies blind patrons full and equal access to the facilities, goods and services that

Defendant makes available to the non-disabled public.

       52.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford facilities,

privileges, advantages or accommodations to individuals with disabilities, unless such

person can demonstrate that making such modifications would fundamentally alter the

nature of such facilities, privileges, advantages or accommodations being offered or

would result in an undue burden.”

       53.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice

also includes, “a refusal to take such steps as may be necessary to ensure that no

individual with a disability is excluded or denied services because of the absence of

auxiliary aids and services, unless such person can demonstrate that taking such steps

would fundamentally alter the nature of the facility, privilege, advantage or

accommodation being offered or would result in an undue burden.”

       54.     Readily available, well-established guidelines exist on the Internet for

making websites accessible to the blind and visually impaired. These guidelines have

been followed by other large business entities and government agencies in making their

websites accessible, including but not limited to: adding alt-text to graphics and ensuring

that all functions can be performed using a keyboard. Incorporating the basic components

to make its Website accessible would neither fundamentally alter the nature of its

business nor result in an undue burden to them.




                                           -16-
    Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 17 of 22




       55.     Defendant’s actions constitute willful intentional discrimination against

the class because of a disability, violating the NYSHRL, N.Y. Exec. Law § 296(2), in

that Defendant has:

               a.      Constructed and maintained a website that is inaccessible to Class

Members with knowledge of the discrimination; and/or

               b.      Constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.      Failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

      56.      Defendant discriminates, and will continue in the future to discriminate

against Plaintiff Olsen and New York Subclass Members on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Defendant’s Website and its rental spaces under

§ 296(2) et seq. and/or its implementing regulations. Unless the Court enjoins Defendant

from continuing to engage in these unlawful practices, Plaintiff and the New York

Subclass Members will continue to suffer irreparable harm.

      57.      As Defendant’s actions violate the NYSHRL, Plaintiff Olsen seeks

injunctive relief to remedy the discrimination.

      58.      Plaintiff Olsen is entitled to compensatory damages and civil penalties and

fines under N.Y. Exec. Law § 297(4)(c) et seq. for every offense.

      59.      Plaintiff Olsen is entitled to reasonable attorneys’ fees and costs.

      60.      Under N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

forth and incorporated therein Plaintiff prays for judgment as set forth below.




                                            -17-
     Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 18 of 22




                                THIRD CAUSE OF ACTION
                              VIOLATIONS OF THE NYCHRL

        61.     Plaintiff Olsen, individually and on behalf the New York City Subclass

Members, repeats and realleges every allegation of the preceding paragraphs as if fully

set forth herein.

        62.     The NYCHRL provides that “It shall be an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent,

agent or employee of any place or provider of public accommodation, because of . . .

disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any

of the accommodations, advantages, facilities or privileges thereof.” N.Y.C. Admin.

Code § 8-107(4)(a).

        63.     Defendant’s New York City locations are sales establishments and public

accommodations under the NYCHRL, N.Y.C. Admin. Code § 8-102(9), and its Website

is a service that is integrated with its establishments.

        64.     Defendant is subject to NYCHRL because it owns and operates its rental

spaces in the City of New York and its Website, making it a person under N.Y.C. Admin.

Code § 8-102(1).

        65.     Defendant is violating the NYCHRL in refusing to update or remove

access barriers to Website, causing its Website and the services integrated with its rental

spaces to be completely inaccessible to the blind. This inaccessibility denies blind patrons

full and equal access to the facilities, goods, and services that Defendant makes available

to the non-disabled public.

        66.     Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

from discriminating on the basis of disability shall make reasonable accommodation to


                                             -18-
    Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 19 of 22




enable a person with a disability to . . . enjoy the right or rights in question provided that

the disability is known or should have been known by the covered entity.” N.Y.C.

Admin. Code § 8-107(15)(a).

       67.     Defendant’s actions constitute willful intentional discrimination against

the Subclass because of a disability, violating the NYCHRL, N.Y.C. Admin. Code § 8-

107(4)(a) and § 8-107(15)(a,) in that it has:

               a.      Constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.      Constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.      Failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       68.     As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff Olsen and the New York City Subclass Members because of

disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, accommodations and/or opportunities of its Website and its establishments

under § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

Defendant from continuing to engage in these unlawful practices, Plaintiff and the New

York City Subclass will continue to suffer irreparable harm.

       69.     As Defendant’s actions violate the NYCHRL, Plaintiff Olsen seeks

injunctive relief to remedy the discrimination.

       70.     Plaintiff Olsen is entitled to compensatory damages and civil penalties and

fines for each offense. N.Y.C. Admin. Code §§ 8-120(8), 8-126(a).

       71.     Plaintiff Olsen is entitled to reasonable attorneys’ fees and costs.



                                            -19-
    Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 20 of 22




       72.     Under N.Y.C. Admin. Code § 8-120 and § 8-126 and the remedies,

procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as

set forth below.

                             FOURTH CAUSE OF ACTION
                               DECLARATORY RELIEF

       73.     Plaintiff Olsen, individually and on behalf the Class Members, repeats and

realleges every allegation of the preceding paragraphs as if fully set forth herein.

       74.     An actual controversy has arisen and now exists between the parties in that

Plaintiff Olsen contends, and is informed and believes that Defendant denies, that its

Website contains access barriers denying blind customers the full and equal access to the

goods, services and facilities of its Website and by extension its rental spaces, which

Defendant owns, operates and controls, fails to comply with applicable laws including,

but not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et

seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin. Code § 8-107, et seq. prohibiting

discrimination against the blind.

       75.     A judicial declaration is necessary and appropriate now in order that each

of the parties may know its respective rights and duties and act accordingly.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Olsen respectfully requests this Court grant the

following relief:

               a.      A preliminary and permanent injunction to prohibit Defendant

from violating Title III of the ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

et seq., N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York;

               b.      A preliminary and permanent injunction requiring Defendant to

take all the steps necessary to make its Website into full compliance with the


                                            -20-
    Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 21 of 22




requirements set forth in Title III of the ADA, and its implementing regulations, so that

the Website is readily accessible to and usable by blind individuals;

               c.     A declaration that Defendant owns, maintains and/or operates the

Website in a manner that discriminates against the blind and which fails to provide access

for persons with disabilities as required by ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec.

Law § 296, et seq., N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York

               d.     An order certifying the Class and Subclasses under Fed. R. Civ. P.

23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his

attorneys as Class Counsel;

               e.     Compensatory damages in an amount to be determined by proof,

including all applicable statutory damages, punitive damages and fines;

               f.     Pre- and post-judgment interest;

               g.     An award of costs and expenses of this action together with

reasonable attorneys’ and expert fees; and

               h.     Such other and further relief as this Court deems just and proper.




                                             -21-
    Case 1:18-cv-11902-GHW Document 1 Filed 12/18/18 Page 22 of 22




                           DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff Olsen demands a trial by jury on all

questions of fact the Complaint raises.

Dated: New York, New York
       December 18, 2018

                                      LIPSKY LOWE LLP



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